              Case 2:15-cr-00177-TLN Document 94 Filed 02/08/17 Page 1 of 2



 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11                                                  )   [PROPOSED] ORDER
            vs.                                     )
12                                                  )   Date: March 24, 2017
     JASON MATECKI, et al.,                         )   Time: 9:00 a.m.
13                                                  )   Judge: Garland E. Burrell, Jr.
14                 Defendants.                      )
                                                    )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for February 24, 2017, is continued to March 24,
18   2017 at 9:00 a.m. in the same courtroom. Defendant needs additional time to prepare for
19   sentencing. Kevin Khasighian, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance. The PSR schedule is amended
21   as follows:
22
     Judgment and Sentencing date:                               March 24, 2017
23
24
     Reply or Statement                                          March 17, 2017
25
     Motion for Correction of the Pre-Sentence
26   Report shall be filed with the court and                    March 10, 2017
27   served on the Probation Officer and opposing
     counsel no later than:
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             Case 2:15-cr-00177-TLN Document 94 Filed 02/08/17 Page 2 of 2



 1   IT IS SO STIPULATED.
 2
 3
     DATED: February 6, 2017                  By:   /s/ Thomas A. Johnson
 4                                                  THOMAS A. JOHNSON
                                                    Attorney for Jason Matecki
 5
     DATED: February 6, 2017                        PHILLIP A. TALBERT
 6                                                  Acting United States Attorney
 7                                            By:   /s/ Thomas A. Johnson for
                                                    KEVIN KHASIGHIAN
 8                                                  Assistant United States Attorney
 9   IT IS SO ORDERED.
10
     Dated: February 7, 2017
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